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 5
    Attorneys for Plaintiff
 6 United States of America

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          Case No. 1:15-cr-00286-DAD-BAM-2
12                                Plaintiff,            STIPULATION AND ORDER
                                                        REGARDING CONTINUANCE
13                 v.
14   ZAID ELODAT,
15                                Defendant.
16

17                                             STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by

19 and through his counsel of record, hereby stipulate as follows:
20          1.     By previous order, this matter was set for sentencing on Monday, October 30, 2017,

21 at 10:00 a.m.

22          2.     By this stipulation, the parties now move to continue the matter to Monday, February

23 5, 2018, at 10:00 a.m.

24          3.     The parties further stipulate to the following schedule:

25          Informal Objections Due:                                           January 8, 2018

26          Final PSR Filed with the Court:                                    January 15, 2018

27          Formal Objections to PSR/Sentencing Memo due:                      January 22, 2018

28          Responses to Formal Objections/Reply to Sentencing Memo:           January 29, 2018
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        Case 1:15-cr-00286-ADA-BAM Document 276 Filed 09/06/17 Page 2 of 2



 1       IT IS SO STIPULATED.

 2 DATED:      September 5, 2017   Respectfully submitted,

 3                                 PHILLIP A. TALBERT
                                   United States Attorney
 4

 5                                 /s/ Karen A. Escobar
                                   KAREN A. ESCOBAR
 6                                 Assistant United States Attorney

 7 DATED:      September 5, 2017

 8                                 /s/ Edward Robinson
                                   EDWARD ROBINSON
 9                                 Counsel for Defendant
                                   Zaid Elodat
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12                                        ORDER

13 IT IS SO ORDERED.

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      Dated:   September 6, 2017
15                                            UNITED STATES DISTRICT JUDGE

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